Case 2:13-cv-08443-RGK-SH Document 16 Filed 12/16/13 Page 1 of 4 Page |D #:76

GARCIA SULLIVAN & LOPEZ LLP

NORMA V. GARCIA (SBN. 223512)
TABITHA RAINEY SULLIVAN (SBN. 223397)
JEFFREY M. BLANK (SBN. 217522)

695 TOWN CENTER DRIVE, SUITE 700
COSTA MESA, CA 92626

TEL: (714) 382-7000

FAX: (714) 382-0031

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

HCT PACKAGING, INC. , a New Jersey C"SE"“"“”E“:
Corporation _ _ CV]_3 -8443 -RGK(SHX)
Plaintiff(s)
M
PROOF OF SERVICE
TM INTER_NATIONAL TR_ADING LIMITED, et al . SUMMONS AND COMPLAINT
(Use separate proof of service for each person/party served)

Defendant(s)

 

 

l. At the time of service I was at least 18 years of age and not a party to this action and I served copies of the (specifj) documents):

a. [E summons § complaint [:] aliassummons m first amendedcomplaint
\___| second amended complaint

l:| third amended complaint

|:] other (specijj)):
2. Person served:
a. |:l Defendant(name): SCENE MEDIA LIMITED

b. \:l Other (specifj) name and title or relationship to the party/business nameaQ:
MiSS TSang, receptionist at Regist:ered Office for Service

c. lZl AddreSSWh€r€pai>€rsw€reserv€d=Room 1505, 15th Floor, Yu Sung Boon Building,

, _ _ _ 107_1j1 hoc V env n H Fanfvnl Unhn Vnnn
3. Manner of Service in compliance with (tne appropriate box must e checked)a:

a. [Z| Federal Rules of Civil Procedure
b. lj California Code of Civil Procedure
4. I served the person named in Item 2:

a. § By Personal service. By personally delivering copies. if the person is a minor, by leaving copies with a parent, guardian,
conservator or similar fiduciary and to the minor if at least twelve (12) years of age.

I. |:| Papers were served on (date): 12/4/2013 at (time): 11130 am

b. [: By Substituted service. By leaving copies:

l. |:| (home) at the dwelling house, usual place of abode, or usual place of business of the person served in the presence of a
competent member of the household, at least l8 years of age, who was informed of the general nature of the papers.

2. |:] (business) or a person apparently in charge of the office of place of business, at least 18 years of age, who was informed
of the general nature of the papers.

3. [:] Papers were served on (date): at (!ime):

4. |:] by mailing (by/irsl~class mail, postage prepaid) copies to the person served in Item Z(b) at the place where the copies
were left in Item 2(c).

5. I:l papers were mailed on (date):

6. \:] due diligence. I made at least three (3) attempts to personally serve the defendant.

 

PROOF OF SERVICE - SUMMONS AND COMPLAINT

cv-i (04/01) PAGE i

Case 2:13-cv-08443-RGK-SH Document 16 Filed 12/16/13 Page 2 of 4 Page |D #:77

l§
g-E

h.[i

Mail and acknowledgment of service. By mailing (byfirst-class mail or airmail, postage prepaid) copies to the person
served, with two (2) copies ofthe form of Waiver of Service of Summons and Complaint and a return envelope, postage
prepaid addressed to the sender. (Attach completed Waiver of Service of Summons and Complaint).

Service on domestic corporation, unincorporated association (including partnership), or public entity. (F.R.Civ.P.
4(h)) (C.C.P. 416.10) By delivering, during usual business hours, a copy of the summons and complaint to an officer, a
managing or general agent, or to any other agent authorized by appointment or by law to receive service of process and, if the
agent is one authorized by statute and the statute so requires, by also mailing, by first-class mail, postage prepaid, a copy to
the defendant.

Substituted service on domestic corporation, unincorporated association (including partnership), or public entity.
(C.C.P. 415.20 only) By leaving during usual office hours, a copy ofthe summons and complaint in the office ofthe person
served with the person who apparently was in charge and thereafter by mailing (by first-class mail, postage prepaid) copies
to the persons at the place where the copies were left in full compliance with C.C.P. 415.20. Substitute service upon the
California Secretary of State requires a court order. (Attach a copy of the order to this Proof of Service).

Service on a foreign corporation. In any manner prescribed for individuals by FRCP 4(f).

Certified or registered mail service. By mailing to an address outside California (by first-class mail, postage prepaid,
requiring a return receipt) copies to the person served. (Attach signed return receipt or other evidence of actual receipt
by the person served).

Other (specify code section and type of service):

5. Service upon the United States, and Its Agencies, Corporations or Oft“icers.

a.l:l

by delivering a copy of the summons and complaint to the clerical employee designated by the U.S. Attorney authorized to
accept service, pursuant to the procedures for the Office of the U.S. Attorney for acceptance of service, or by sending a copy
of the summons and complaint by registered or certified mail addressed to the civil process clerk at the U.S. Attorneys
Off`ice.

Name of person served:
Title of person served:

Date and time of service: (date): at (time):

By sending a copy of the summons and complaint by registered or certified mail to the Attorney General of the United States
at Washington, D.C. (Attach signed return receipt or other evidence of actual receipt by the person served).

\:I By sending a copy of the summons and complaint by registered or certified mail to the officer, agency or corporation

(Attach signed return receipt or other evidence of actual receipt by the person served).

6. At the time of service I was at least 18 years of age and not a party to this action.

7. Person serving (name, address and telephone number):

Henry Lee, clerk to King & Wood

a. Fee for service: $ 0 . 00

T§i:'le;§::r l Gloucester Tower b. |:\ Not a registered California process server
Tl’l€ Lal'ldmark l 15 QU€€H' S ROad C€I'ltral c. Exempt from registration under B&P 22350(b)
Hong Kong

8. l:l I am a California sheriff, marshal, or constable and l certify that the foregoing is true and correct.

I declare under penalty of perjury that the foregoing is true and correct.

Date; 16 December 2013

Cv-i (04/0i)

d. I:l Registered California process server

     
  

4

 

/(;$y{iirdrti't?_l

PROOF OF SERVlCE - SUMMONS AND COMPLAINT
PAGE 2

Case 2:13-cv-08443-RGK-SH Document 16 F_i|ed 12/16/13 Page 3 of 4 Page |D #:78
Case 2:13-cv-08443-RGK-SH Documerit 2 Filed 11/14/13 Page 1 of 2 Page |D #:1

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Central Distn'ct of California

Hcr PAcKAeiNe, iNc.
Ci /l'€’*v jrff€j/ 60 ref/afm ltv/vi

`J\/\~/

 

 

ij ll ii § 3 4 § " lb<
Plainziprs) ii %\(/ ix '
v. § Civil Action No.
TlVl lNTERNATlONAL TRADlNG LllVl|TED; SCENE )
MEDIA LlMlTED; LUClNDA JANE lVlCEVOY; )
NORBERT MlBRAN TOPOUZOGLOU; AND DOES )
'l THROUGH 'lO, INCLUSlVE )
Defendant(s) )
SUMMONS IN A CIVlL ACTION

TO: (Defendam’s name and address) SCENE lVlEDlA LlMlTED
Room 1505, 15th Floor, Yu Sung Boon Building
107-111 Des Voeux Road Central
Hong Kong

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (no'c counting the day you received it) - or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(Z) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the F ederal Rules of Civil Proceclure. The answer or motion must be served on the plaintiff or plaintist attorney,
Whose name and address are: GARC|A, SULLIVAN & LC)PEZ LLP

NORMA V. GARCIA

TABlTHA RAINEY SULL|VAN

JEFFREY M. BLANK

695 TOWN CENTER DR|VE, SUlTE 700
COSTA MESA` CA 92626

lf you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint
You also must file your answer or motion with the court.

limp l 4 20;3 CLERK OFCOURT

Date: lili.l§ Pl¥§@ro

 

 

Case 2:13-cv-08443-RGK-SH Document 16 Filed 12/16/13 Page 4 of 4 Page |D #:79

AO 440 (Rev 06/12) Summons in a Civil Action (Page 2)
Civil Action No. CV13 - 8443

PROOF OF SERVICE
(T his section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

 

ThiS Summons fOI° (name of individual and title, if any) Scene Media Limited

was received by me on (date) 11/15/2013

Date:

ij I personally served the summons on the individual at (p/ace)

OI`l (date) § OI‘

 

III I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

 

 

on (date) , and mailed a copy to the individual’s last known address; or

d I served the summons on (name ofmdivia'ual) |\/|iss Tsang , who is
designated by law to accept service of process on behalf of (name oforganization) Scene Media
Limited _ Orl (dafe) 12/04/2013 ; Or

IJ I returned the summons unexecuted because ; or

`Q(th€r (Sp€€vj/).' | also served on the above-mentioned |V|iss Tsang a copy of the Complaint together with

exhibits A, B & C by leaving the same at the registered office of Scene Media Limited
situated at Room 1505, 15th F|oor, Yu Sung Boon Bui|ding, 107-111 Des Voeux Road
Centra|, Hong Kong on 4 December 2013.

My fees are $ for travel and $ for services, for a total of $ 0_00

1 declare under penalty of perjury that this information is true.

:-`_'|l’iib/
12/04/2013 \ " “»L

Seiéé}|;; \, g'ii¢ii‘i;r'

Henry Lee, {rk`/ to King & Wood Ma||esons

Printed name and title

13th F|oor, G|oucester Tower
The Landmark, 15 Queen's Road Centra|
Hong Kong
Server 's address

Additional information regarding attempted service, etc:

